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                                       UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF ALABAMA

UNITED STATES OF AMERICA                                                      JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)

v.
                                                                              Case Number: 1:08-CR-00246-001
LANDON DANIEL GRAY                                                            USM Number: 10410-003
                                                                              Andrew M. Jones, Esquire
                                                                              Defendant’s Attorney

THE DEFENDANT:
       admitted guilt to violation of standard conditions 7, 8 & 9, and two special conditions as set forth in the Petition dated
       3/13/2017.
      was found in violation of condition(s)                                        after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                                            Nature of Violation                                           Violation Ended
          7                                                       Technical
          8                                                       Technical
          9                                                       Technical
  Special Condition                                               Technical
  Special Condition                                               Technical


The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

       The defendant has not violated condition(s) ________________________ and is discharged as to such violation(s) condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.



                                                                           April 19, 2017
                                                                                            Date of Imposition of Judgment

                                                                           /s/ Callie V. S. Granade
                                                                                                     Signature of Judge

                                                                           CALLIE V. S. GRANADE
                                                                           SENIOR UNITED STATES DISTRICT JUDGE
                                                                                          Name and Title of Judge

                                                                           April 21, 2017
                                                                                                           Date
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DEFENDANT:                  LANDON DANIEL GRAY
CASE NUMBER:                1:08-CR-00246-CG-001


                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

TWENTY-FOUR (24) MONTHS.

      The court makes the following recommendations to the Bureau of Prisons:


      The defendant is remanded to the custody of the United States Marshal.
      The defendant shall surrender to the United States Marshal for this district:

                at                                          a.m.               p.m.    on

                as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.



                                                               RETURN
I have executed this judgment as follows:


          Defendant delivered on                                     to


at                                        , with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL
                                                                          By

                                                                                            DEPUTY UNITED STATES MARSHAL
